 Case 2:24-cv-00106-JRG Document 16 Filed 06/26/24 Page 1 of 2 PageID #: 146




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


MOBILE HEALTH INNOVATIVE
SOLUTIONS, LLC

              Plaintiff,
                                                 Civil Action No. 2:24-cv-106
v.

SAMSUNG ELECTRONICS CO. LTD., and
SAMSUNG ELECTRONICS AMERICA,
INC.,

               Defendants.


          JOINT MOTION FOR ENTRY OF AGREED PROTECTIVE ORDER

       Plaintiff Mobile Health Innovative Solutions, LLC and Defendants Samsung Electronics

Co., Ltd., and Samsung Electronics America, Inc. jointly submit their proposed protective order,

attached hereto. The parties were able to agree on all aspects of this proposed order.



 Dated: June 26, 2024                                Respectfully submitted,

 /s/ Randall T. Garteiser                            /s/ Melissa R. Smith
 Randall T Garteiser                                 Melissa R. Smith
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 MOBILE HEALTH INNOVATIVE                            COUNSEL FOR DEFENDANTS
 SOLUTIONS, LLC                                      SAMSUNG ELECTRONICS CO., LTD., AND
                                                     SAMSUNG ELECTRONICS AMERICA, INC.



                                                 1
 Case 2:24-cv-00106-JRG Document 16 Filed 06/26/24 Page 2 of 2 PageID #: 147




                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for Defendants met and conferred with

counsel for Plaintiff pursuant to Local Rule CV-7(i). The Parties are jointly seeking the relief

sought in this Motion.



                                                        /s/ Melissa R. Smith




                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented

to electronic services are being served with a copy of this document via the Court’s CM/ECF

system on June 26, 2024.



                                                         /s/ Melissa R. Smith




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